                       Case 1:19-cv-04043-LGS Document 8 Filed 05/07/19 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                 Southern District
                                                __________         of of
                                                            District  New  York
                                                                         __________

          GOLD MEDAL PRODUCE CO., INC.,                             )
                                                                    )
                                                                    )
                                                                    )
                            3ODLQWLIIV                            )
                                                                    )
                                v.                                          Civil Action No. 19-CV-4043
         HUNG DUONG and LIEN LUONG a/k/a                            )
              LINDA LUONG, both d/b/a                               )
        GA CHINATOWN and HING WONG MEAT                             )
                                                                    )
                                                                    )
                           'HIHQGDQWV                             )

                                                6800216,1$&,9,/$&7,21

To: 'HIHQGDQW¶VQDPHDQGDGGUHVVLIEN LUONG a/k/a                      LIEN LUONG a/k/a
                                      LINDA LUONG                       LINDA LUONG
                                      132G Lafayette Street             1426 65th Street, 1st Floor
                                      New York, New York 10013          Brooklyn, New York 11219




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Law Office of Bruce Levinson
                                      805 Third Avenue, 12th Floor
                                      New York, New York 10022
                                      (212) 750-9898



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               &/(5.2)&2857


Date:
                                                                                          6LJQDWXUHRI&OHUNRU'HSXW\&OHUN

                                                Select Courthouse
                        Case 1:19-cv-04043-LGS Document 8 Filed 05/07/19 Page 2 of 2

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 Civil Action No.19-CV-4043

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                     7KLVVHFWLRQVKRXOGQRWEHILOHGZLWKWKHFRXUWXQOHVVUHTXLUHGE\)HG5&LY3O

           This summons for QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 was received by me on GDWH                                         .

           u I personally served the summons on the individual atSODFH
                                                                                on GDWH                             ; or

           u I left the summons at the individual’s residence or usual place of abode with QDPH
                                                                 , a person of suitable age and discretion who resides there,
           on GDWH                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on QDPHRILQGLYLGXDO                                                                      , who is
            designated by law to accept service of process on behalf of QDPHRIRUJDQL]DWLRQ
                                                                                on GDWH                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other VSHFLI\
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            6HUYHU¶VVLJQDWXUH



                                                                                        3ULQWHGQDPHDQGWLWOH




                                                                                            6HUYHU¶VDGGUHVV

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
